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                          UNITED STATES DISTRICT COURT

                                   DISTRICT OF MAINE


A.M., a minor, by and through              )
her mother, SHAEL NORRIS,                  )
                                           )
                     Plaintiff,            )
                                           )
       v.                                  )              Case No. 2:19-cv-00466-LEW
                                           )
CAPE ELIZABETH SCHOOL                      )
DISTRICT; et al.,                          )
                                           )
                     Defendants,           )


                                  ORDER OF DISMISSAL

       On October 8, 2020, Defendants filed a Declaration by Jeffrey Shedd (ECF No.

37), principal of Cape Elizabeth High School, stating that A.M.’s school record does not

contain any reference to the suspension that formed the basis of this case.

       I am satisfied that the parties have fulfilled their obligations under the settlement

agreement. Therefore, this case is hereby DISMISSED with prejudice.


       SO ORDERED.

       Dated this 19th day of October, 2020.

                                            /s/ Lance E. Walker
                                           UNITED STATES DISTRICT JUDGE
